         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 1 of 31




 1
 2

 3

 4

 5

 6

 7

 8

 9

10                            UNITED STATES DISTRICT COURT
11                         WESTERN DISTRICT OF WASHINGTON
12
     DEBBIE CHAVES, DANIELLE WARD, and
13   AMANDA EVANS, individually and on behalf    Case No. 2:21-cv-01213-TL
     of all others similarly situated,
14                                               PLAINTIFFS’ OPPOSITION TO
                           Plaintiffs,           DEFENDANT’S MOTION TO DISMISS
15                                               SECOND AMENDED CLASS ACTION
                                                 COMPLAINT
16                v.
17   AMAZON.COM SERVICES LLC,
18
                           Defendant.
19

20

21

22

23

24

25

26

27

28
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                 BURSOR & FISHER, P.A.

     CASE NO. 2:21-CV-01213-TL                                      1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                  WALNUT CREEK, CA 94596
            Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 2 of 31




 1                                                     TABLE OF CONTENTS
 2                                                                                                                                   PAGE(S)
 3
     I.       INTRODUCTION .................................................................................................................. 1
 4
     II.      ARGUMENT ......................................................................................................................... 2
 5
              A.        The Products Are “Gift Cards” Or “Digital Products,” Which Are
 6                      Tax Exempt In Massachusetts And New York .......................................................... 2
 7                      1.         The Products Are Tax Exempt In Massachusetts ........................................... 9
 8
                        2.         The Products Are Tax Exempt In New York ............................................... 11
 9
              B.        Plaintiffs State A Claim For Breach of Contract ...................................................... 14
10
              C.        Plaintiffs Sufficiently Allege Violations Of Massachusetts, New
11                      York, And Washington’s Consumer Protection Acts............................................... 15

12                      1.         Plaintiffs State A Claim For Violations of The Massachusetts
                                   Unfair and Deceptive Business Practices Act ............................................. 15
13
                        2.         Plaintiffs State A Claim For Violations of New York General
14
                                   Business Law ................................................................................................ 17
15
                        3.         Plaintiffs Properly Allege Claims Under The Washington
16                                 Consumer Protection Act ............................................................................. 22

17   III.     CONCLUSION .................................................................................................................... 24
18

19

20

21

22

23

24

25

26

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                                               1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                                                           WALNUT CREEK, CA 94596



                                                                         -i-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 3 of 31




 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                PAGE(S)
 3
     CASES
 4
     Am. Cablevision of Rochester, Inc. v. Jacobs,
 5     474 N.Y.S.2d 653 (N.Y. App. Div. 1984) .................................................................................... 11

 6   American Oil Serv. v. Hope Oil Co.,
       194 Cal. App. 2d 581 (Cal. App. Ct. 1961) .................................................................................. 15
 7
     Beauchesne v. New England Neurological Associates, P.C.,
 8
       159 N.E.3d 728 (Mass. App. Ct. 2020) ........................................................................................ 16
 9
     Browne v. Avvo, Inc.,
10     525 F. Supp. 2d 1249 (W.D. Wash. 2007) ................................................................................... 22

11   Citrix Sys., Inc. v. Comm’r of Revenue,
       139 N.E.3d 293 (Mass. 2020) ....................................................................................................... 10
12
     Cohen v. Hertz Corp.,
13     2013 WL 9450421 (S.D.N.Y. Nov. 26, 2013) ............................................................................. 21
14
     Columbia Chiropractic Group, Inc. v. Trust Ins. Co.,
15     712 N.E.2d 93 (Mass. 1999) ......................................................................................................... 16

16   Davidson v. Rochester Tel. Corp.,
       558 N.Y.S.2d 1009 (N.Y. App. Div. 1990) .................................................................................. 19
17
     Estler v. Dunkin’ Brands, Inc.,
18     691 F. App’x 3 (2d Cir. 2017) ...................................................................................................... 19
19   Feeney v. Dell Inc.,
20     908 N.E.2d 753 (Mass. 2009) ....................................................................................................... 15

21   Gadda v. State Bar of Cal.,
       511 F.3d 933 (9th Cir. 2007) .............................................................................................. 2, 12, 13
22
     Gilbert v. Home Depot, Inc.,
23     2014 WL 4923107 (W.D.N.Y. Sept. 30, 2014) ............................................................................ 20
24   Guterman v. Costco Wholesale Corp,
25     927 F.3d 67 (2d Cir. 2019) ........................................................................................................... 20

26   Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co.,
       105 Wash. 2d 778, 719 P.2d 531 (1986) ...................................................................................... 22
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                                                        BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                                             1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                                                         WALNUT CREEK, CA 94596



                                                                        -ii-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 4 of 31




 1   Hershenow v. Enterprise Rent-A-Car Co. of Boston,
       840 N.E.2d 526 (Mass. 2006) ....................................................................................................... 16
 2
     Holt v. Town of Stonington,
 3
       765 F.3d 127 (2d Cir. 2014) ......................................................................................................... 21
 4
     Kolebuck-Utz v. Whitepages Inc.,
 5     2021 WL 1575219 (W.D. Wash. Apr. 22, 2021) ......................................................................... 18

 6   Kupferstein v. TJX Cos.,
       2017 WL 590324 (E.D.N.Y. Feb. 14, 2017) ................................................................................ 20
 7
     Manchanda v. Navient Student Loans,
 8
      2020 WL 5802238 (S.D.N.Y. Sept. 29, 2020) ............................................................................. 18
 9
     McCarthy Fin., Inc. v. Premera,
10    182 Wash. 2d 936 (2015) ....................................................................................................... 23, 24

11   McGonagle v. Home Depot, U.S.A., Inc.,
      915 N.E.2d 1083 (2009) ............................................................................................................... 16
12
     Means v. City of Chicago,
13    535 F. Supp. 455 (N.D. Ill. 1982) ................................................................................................. 18
14
     Pelman ex rel. Pelman v. McDonald’s Corp.,
15     396 F.3d 508 (2d Cir. 2005) ......................................................................................................... 18

16   Porsch v. LLR, Inc.,
       380 F. Supp. 3d 418 (S.D.N.Y. 2019) ................................................................................... passim
17
     Roney v. Miller,
18     705 F. App’x 670 (9th Cir. 2017) ................................................................................................. 24
19   Short v. Demopolis,
20     103 Wash. 2d 52, 691 P.2d 163 (1984) (en banc ......................................................................... 22

21   Stephens v. Omni Ins. Co.,
       138 Wash. App. 151, 159 P.3d 10 (2007) .................................................................................... 22
22
     Tides v. The Boeing Co.,
23     644 F.3d 809 (9th Cir. 2011) .......................................................................................................... 6
24   Togut v. Forever 21, Inc.,
25     285 F. Supp. 3d 643 (S.D.N.Y. 2018) .......................................................................................... 20

26   United States v. Ritchie,
       342 F.3d 903 (9th Cir. 2003) .......................................................................................................... 5
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                                                     BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                                          1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                                                      WALNUT CREEK, CA 94596



                                                                       -iii-
            Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 5 of 31




 1   Van v. LLR, Inc.,
       500 F. Supp. 3d 927 (D. Alaska 2020) ............................................................................. 17, 20, 21
 2
     STATUTES
 3

 4   Mass. Gen. Laws ch. Ann. 62C, § 41 ............................................................................................... 16

 5   Mass. Gen. Laws ch. Ann. 64H, § 1 ................................................................................................... 9

 6   Mass. Gen. Laws ch. Ann. 64H, § 2 ................................................................................................... 9

 7   Mass. Gen. Laws ch. Ann. 255D, § 1 ............................................................................................. 3, 4
 8   N.Y. Gen. Bus. Law § 396-i(1) .......................................................................................................... 3
 9   N.Y. Tax Law § 1101 ....................................................................................................................... 12
10
     N.Y. Tax Law § 1105 ................................................................................................................. 11, 13
11
     N.Y. Tax Law § 1139 ................................................................................................................. 18, 19
12
     N.Y. Tax Law §1140 .................................................................................................................. 18, 19
13
     Wash. Rev. Code Ann. 19.86.010(2).......................................................................................... 22, 23
14
     Wash. Rev. Code Ann. § 19.86.170 ................................................................................................ 23
15
     RULES
16
     Fed. R. Civ. P. 9(b) ..................................................................................................................... 17, 18
17

18   REGULATIONS

19   12 C.F.R. § 1005.20(a) ............................................................................................................... 3, 6, 7

20   OTHER AUTHORITIES

21   Massachusetts Department of Revenue (“DOR”),
      Letter Ruling 81-4 (Jan. 5, 1981) ................................................................................................... 9
22
     Massachusetts Department of Revenue (“DOR”),
23    Letter Ruling 12-8 (Nov. 8, 2013) ............................................................................................ 8, 10
24
     Massachusetts Department of Revenue (“DOR”),
25    Letter Ruling 16-1 (Jan. 8, 2016) ................................................................................................... 9

26   Massachusetts Department of Revenue (“DOR”),
      Letter Ruling 11-3 (Feb. 14, 2018) ............................................................................................... 10
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                                                         BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                                              1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                                                          WALNUT CREEK, CA 94596



                                                                          -iv-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 6 of 31




 1   Taxation of Digital Goods & Servs.,
       70 N.Y.U. Ann. Surv. Am. L. 421 (2015) .............................................................................. 11, 12
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                                            WALNUT CREEK, CA 94596



                                                                  -v-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 7 of 31




 1          Plaintiffs Debbie Chaves, Danielle Ward, and Amanda Evans (“Plaintiffs”) respectfully
 2   submit this Opposition to Defendant Amazon.com Services LLC’s (“Amazon” or “Defendant”)
 3
     Motion to Dismiss the Second Amended Complaint (ECF No. 27) (the “Motion” or “MTD”).
 4
     I.     INTRODUCTION
 5
            Under most state schemes, including those of Massachusetts and New York, gift cards and
 6

 7   digital products are exempt from sales tax. Amazon sells the “Roblox Gift Card – 800 Robux

 8   [Includes Exclusive Virtual Item] [Online Game Code]” (the “Robux Gift Card”), and the

 9   “PlayStation Plus: 1 Month Membership [Digital Code Code]” (the “PSP+ Card”) (collectively,
10
     the “Products”) in the states of Massachusetts and New York. Second Amended Complaint (ECF
11
     No. 25) (“SAC”), at ¶¶ 7, 14, 18, 22, 24 28 (pp. 2:12-14, 5:9-14, 7:17-22, 8:6-7, 11:1-6). The
12
     Products were “digital products,” and the Robux Gift Card was just that—a “gift card.” SAC
13
     ¶¶ 8 (screenshot) (p. 3:1-9), 10-12 (p. 3:13-4:17), 26 (p. 9:1-8); see also Argument § II.A, infra.
14

15   Accordingly, no sales tax should have been assessed on the purchase of the Products in either

16   Massachusetts or New York. Argument §§ II.A.1-2, infra. Indeed, Defendant represented that
17   any charges of sales tax would comply “with applicable state and local laws,” and that “[n]o tax
18
     is charged when purchasing gift cards.” SAC ¶¶ 5 (p. 2:3-4), 31 (p. 11:13-16). Nonetheless,
19
     Amazon improperly levied a “sales tax” on Plaintiffs’ purchases of the Products. Id. ¶¶ 13 (p.
20
     4:18-22), 21 (p. 7:3-7), 27 (p. 9:9-11). Notably, Amazon is the only retailer that charges a sales
21

22   tax on the Robux Gift Card and does not charge a sales tax on identical gift cards for other video

23   games. Id. ¶¶ 34-36 (pp. 12:10-13:6); Declaration of Max S. Roberts (“Roberts Decl.”), at Exs.

24   1-3. And, Plaintiffs allege that Amazon failed to remit the improperly charged tax to state
25   authorities. Id. ¶¶ 40-46 (pp. 13:21-15:2). Plaintiffs and the putative Class should not have to
26
     pay for Amazon’s mistakes.
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                          BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                               1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                           WALNUT CREEK, CA 94596



                                                     -1-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 8 of 31




 1           For the following reasons, Amazon’s conduct constitutes a breach of contract and a
 2   violation of Massachusetts, New York, and Washington’s consumer protection laws, and each
 3
     argument in Defendant’s Motion is meritless.
 4
     II.     ARGUMENT
 5
             A.     The Products Are “Gift Cards” Or “Digital Products,” Which Are
 6                  Tax Exempt In Massachusetts And New York
 7
             Defendant argues that Plaintiffs’ claims must be dismissed because “applicable law is clear
 8
     that the items [Plaintiffs] identify—digital codes to access and subscribe to videogame software—
 9
     were not exempt from sales tax.” MTD at 1:9-11. This is wrong. As an initial matter, Defendant
10
     only claims the “gift card” exemption does not apply, and only cites authority from New York.
11

12   In doing so, Defendant ignores that Plaintiffs also allege that the Products are exempt as virtual

13   goods and fails to address Massachusetts tax law at all. SAC ¶¶ 5, 8, 16, 19 (pp. 2:3-4, 15:17,
14   5:16-21, 19:10-16). Defendant may not assert these additional arguments on reply. Gadda v.
15
     State Bar of Cal., 511 F.3d 933, 937 n.2 (9th Cir. 2007) (“It is well established that issues cannot
16
     be raised for the first time in a reply brief.”). Notwithstanding this waiver, Plaintiffs address
17
     below why the Products are exempt as both “gift cards” and “digital products.”
18

19           Robux Gift Card

20           Amazon’s argument boils down to claiming the Robux Gift Card is not a “gift card.” MTD

21   3:3-4 (“While Roblox chose to call them ‘gift cards,’ the Robux products at issue plainly are not
22   gift cards for sales tax purposes) (emphasis removed).1 This argument is as silly as it sounds and
23
     is belied both by federal and state regulations and a common understanding of the term.
24

25
     1
       Notably, Defendant claims the Robux Gift Cards were sold “directly [by] Amazon, not from
26   third-party sellers.” MTD at 5:6-7 (emphasis removed). So, if Amazon is correct, then Amazon
27   itself chose to call the Robux Gift Card a gift card.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                     -2-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 9 of 31




 1           As an initial matter, Amazon cites no authority for the proposition that a company’s
 2   description of an item is not dispositive for tax purposes. Nor can they, because the Robux Gift
 3
     Card is a gift card as the term is defined in relevant statutes and regulations. For example, 12
 4
     C.F.R. § 1005.20(a)(1) defines a “gift certificate” as “a card, code, or other device that is: (i)
 5
     [i]ssued on a prepaid basis primarily for personal, family, or household purposes to a consumer in
 6

 7   a specified amount that may not be increased or reloaded in exchange for payment; and (ii)

 8   [r]edeemable upon presentation at a single merchant or an affiliated group of merchants for goods

 9   or services.” Similarly, 12 C.F.R. § 1005.20(a)(2) defines a “store gift card” as “a card, code, or
10
     other device that is: (i) [i]ssued on a prepaid basis primarily for personal, family, or household
11
     purposes to a consumer in a specified amount, whether or not that amount may be increased or
12
     reloaded, in exchange for payment; and (ii) [r]edeemable upon presentation at a single merchant
13
     or an affiliated group of merchants for goods or services.”
14

15           State regulations are in accord. New York’s General Business Law (“GBL”) § 396-i(1)

16   defines a “gift certificate” as an:
17           electronic payment device that: (i) is usable at a single merchant or an affiliated
18           group of merchants … and (ii) is issued in a specified amount; and (iii) may or
             may not be increased in value or reloaded; and (iv) is purchased and/or loaded
19           on a prepaid basis for the future purchase or delivery of any goods or services;
             and (v) is honored upon presentation.
20
     GBL § 396-i(1). And Massachusetts’ Gen. Laws ch. 255D, § 1 defines a “gift certificate” as:
21

22           a writing identified as a gift certificate purchased by a buyer for use by a person
             other than the buyer not redeemable in cash and usable in its face amount in
23           lieu of cash in exchange for goods or services supplied by the seller. A gift
             certificate shall include an electronic card with a banked dollar value … and
24           any other medium that evidences the giving of consideration in exchange for
             the right to redeem the certificate, electronic card or other medium for goods,
25           food, services, credit or money of at least an equal value.
26

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -3-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 10 of 31




 1   Mass. Gen. Laws ch. 255D, § 1. The Robux Gift Card fits neatly under each of these regulations,
 2   as it is called a gift card, is issued in a specified amount of money ($10), and is redeemable for
 3
     “goods or services” in the form of virtual currency.
 4
              Numerous reputable dictionaries are in accord with this common sense understood of a
 5
     gift card, defining a “gift card” as “a card entitling the recipient to receive goods or services of a
 6

 7   specified value from the issuer,”2 “a card of a certain value that allows you to choose an item or

 8   items of that value at that store or chain,”3 and “a card that can be exchanged in a store or on a

 9   website for goods or services of the value that is printed on it.”4 The Robux Gift Card fits each
10
     of these definitions. It is issued in a specified amount of money ($10) and is redeemable for goods
11
     of specified value (800 Robux-worth of virtual items). SAC ¶ 8 (pp. 2:15-3:9) (screenshot
12
     showing $10 on Robux Gift Card). The term “Online Game Code” refers to the fact that the gift
13
     card comes in the form of a code that allows its value to be redeemed in the Roblox online store,
14

15   as opposed to swiping the card at a checkout counter as one would do with a physical gift card.

16   SAC ¶ 10 (p. 3:14-16) (“A customer who purchases the Robux Gift Card is provided a unique
17   code via email that, when inputted into the Roblox (or relevant) store, provides purchasing power
18
     in that store.”). Amazon is well aware of this, as its gift cards work the exact same way.5
19

20

21

22   2
         GIFT CARD, MERRIAM-WEBSTER, https://www.merriam-webster.com/dictionary/gift%20card.
     3
23     GIFT CARD, COLLINS DICTIONARY, https://www.collinsdictionary.com/us/dictionary/english/
     gift-card.
24   4
       GIFT CARD, CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/
25   gift-card.
     5
       AMAZON.COM EGIFT CARD, https://www.amazon.com/gp/product/B09KXT1HLH/ (Q: How are
26   email gift cards redeemed? A: … “[R]ecipients can copy their claim code and paste it into the text
27   field on the Redeem a gift card page.”).
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                      -4-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 11 of 31




 1          Perhaps most notably, Plaintiffs’ understanding of a gift card comports not only with how
 2   other retailers understand the term (SAC ¶ 32 (p. 11:18-19)), but how Amazon itself interprets the
 3
     term in other instances (SAC ¶ 34 (p. 12:10-11)). As to the former, according to the Roblox
 4
     website, there are four retailers that sell virtual Robux Gift Cards: Amazon, GameStop, Walmart,
 5
     and Target.6 Of these retailers. Amazon is the only retailer to charge tax on the Robux Gifts Card.
 6

 7   Compare SAC ¶ 21 (p. 7:3-16), with Roberts Decl. at Exs. 1-3. Thus, either every other retailer

 8   is wrong, or Defendant is. And as to the latter, Amazon does not charge a sales tax on gift cards

 9   used in other video games. For instance, Amazon also sells gift cards for the Assassin’s Creed
10
     series of video games, which allow consumers to pay a specific amount of money in exchange for
11
     a code that can be redeemed for a specific amount of the virtual currency, “Helix Credits.” SAC
12
     ¶ 35 (p. 12:19-24). “In other words, the Helix Credits are identical to the Robux Gift Card, save
13
     for being used for a different video game.” Id. ¶ 36 (p. 13:1-2) (emphasis in original). “Yet,
14

15   Amazon (correctly) does not charge a sales tax on the purchase of the Helix Credits, but

16   (incorrectly) charges a sales tax on the purchase of the Robux Gift Card and other tax-exempt
17   items.” Id. (p. 13:2-4); see also First Amended Complaint ¶ 29 (ECF No. 13) (showing screenshot
18
     of no tax charged on the Assassin’s Creed gift card in New York).7
19

20

21
     6
22     The Court may take judicial notice of the Roblox website pursuant to the “incorporation by
     reference doctrine.” See United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (“Even if a
23   document is not attached to a complaint, it may be incorporated by reference into a complaint if
     the plaintiff refers extensively to the document or the document forms the basis of the plaintiff’s
24
     claim.”) (internal citation omitted). Plaintiffs allege that other retailers do not charge sales tax on
25   digital products while Amazon does. SAC ¶ 32 (p. 11:18-19)).
     7
       Due to technical issues with ECF, the referenced screenshot is blurry in the filed version of the
26   Second Amended Complaint. Thus, Plaintiffs respectfully refer the Court to the same screenshot
27   in the First Amended Complaint, where it appears unobscured.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -5-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 12 of 31




 1          Finally, even if the Robux Gift Card is not a gift card (and it is), it is also tax-exempt as a
 2   “digital product.” SAC ¶¶ 15-19 (pp. 5:14-6:16). “The Robux Gift Cards are non-tangible virtual
 3
     goods that are sent electronically in the form of a unique code that is generated for the buyer after
 4
     the purchase.” Id. ¶ 15 (p. 5:14-15); see also Argument § II.A.2, infra.
 5
            Defendant’s arguments are unavailing. First, Defendant tries to discredit Plaintiffs’
 6

 7   statutory authorities, arguing “they are not tax law[s] and the definitions in those statutes have no

 8   bearing on whether sales tax is due on any transaction.” MTD at 8:22-24. But if this Court finds

 9   the term “gift card” to be ambiguous (even though the Robux Gift Card fits within the plain
10
     meaning of the term), it is well established that this court may “look to other related statutes
11
     because statutes dealing with similar subjects should be interpreted harmoniously.” Tides v. The
12
     Boeing Co., 644 F.3d 809, 814 (9th Cir. 2011) (internal quotations omitted).
13
            Second, Defendant argues “[t]he Robux product at issue might cost $10 to buy, but the
14

15   card is not issued in a ‘specified amount’ of real money redeemable in the real world, as would be

16   true of a real gift card with a $10 cash value.” MTD at 10:1-4 (emphasis removed). This is wrong
17   for several reasons. The SAC clearly shows that the Robux Gift Card was issued in the “specified
18
     amount” of real money—$10. SAC ¶ 8 (p. 3:1-9) (screenshot). And the premise of Defendant’s
19
     argument is at odds with Defendant’s own authority:
20
            [I]f the card, code, or other device is issued in a specified or denominated
21          amount that can be applied toward the purchase of a specific good or service,
22          such as a certificate or card redeemable for a spa treatment up to $50, the card,
            code, or other device is [a store gift card or gift certificate] … Similarly, if the
23          card, code, or other device states a specific monetary value, such as “a $50
            value,” the card, code, or other device is [a store gift card or gift certificate].
24
     12 C.F.R., Pt. 1005, Supp. I § 1005.20(a)(3). The Robux Gift Card fits within this definition.
25

26   Even if the Robux Gift Card is for “800 Robux,” it still carries “a $10 value,” as is written on the

27   gift card itself. SAC ¶ 8 (p. 3:1-9) (screenshot). The Robux Gift Card is also analogous to a gift
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -6-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 13 of 31




 1   card for “a spa treatment up to $50.” A spa treatment is not a “specified amount” of money, yet
 2   it nonetheless carries value that can be quantified in a gift card. So, whether the Robux Gift Card
 3
     is issued in a specified, real monetary amount of $10, or provides “a $10 value” in Robux, it is
 4
     still a gift card under Amazon’s own argument.8
 5
            Finally, Defendant attempts to split hairs, arguing that the Robux Gift Card “is useful only
 6

 7   for acquisition of pretend game-related items within the video game Roblox” and thus “is not

 8   useful ‘for a variety of purchases.’” MTD at 10:14-16. This argument makes no sense. Gift

 9   Cards universally and inherently limit the purchase venue, and Robux Gift Cards are no different.
10
     A restaurant gift card, for example, is useable only at the restaurant it designates, while an
11
     Amazon.com gift card, is useful “only for acquisition of” items sold on Amazon.com. It is
12
     expected that a Robux Gift Card would only allow purchases on the Roblox store, and not
13
     anywhere else. That does not make it any less of a gift card. In addition, the Robux Gift Card
14

15   allows for a “variety of purchases” (e.g., different items) from the Roblox store, the same way an

16   Amazon gift card can be used for a “variety of purchases” from Amazon’s website, or an iTunes
17   gift card allows for a “variety of purchases” of music or movies from the iTunes Store. Finally,
18
     even “pretend game-related items” have value in the real word. Indeed, the Roblox community
19

20

21
     8
       Defendant attempts to contrast this scenario by referencing a separate part of the regulation.
22   MTD at 9:24-26 (“By contrast, ‘if the prepaid card does not have a monetary value, [it] therefore
23   is not issued in a specified amount and does not meet the definitions of ‘gift certificate, store gift
     card, or general-use prepaid card in § 1005.20(a).’”) (quoting 12 C.F.R., Pt. 1005, Supp. I
24   § 1005.20(b)(6)). But the cited section only provides an exclusion for cards “redeemable solely
     for admission to events or venues at a particular location or group of affiliated locations generally
25   applies to cards, codes, or other devices that are not redeemed for a specified monetary value, but
     rather solely for admission or entry to an event or venue.” 12 C.F.R., Pt. 1005, Supp. I
26   § 1005.20(b)(6). That section does not apply because the Robux Gift Card is not used in any way
27   for “entry to an event or venue,” and is redeemable in a “specified monetary value”—$10.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -7-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 14 of 31




 1   maintains a website where users can auction unique items for real money.9 Thus, a user who
 2   received a Robux Gift Card could redeem it for virtual currency, purchase a virtual item with the
 3
     Robux, and then sell the item for real money.
 4
              PSP+ Card
 5
              Like the Robux Gift Card, the PSP+ Card is a “digital good.” And although Amazon
 6

 7   accuses Plaintiffs of “misleadingly omit[ting] the product detail page, which [] describe[s] the

 8   item” (MTD at 4:2-3), Amazon itself then ignores the details of its own exhibit. Specifically, the

 9   “product detail page” (Buckley Decl. Ex. 1) shows that PlayStation Plus provides numerous
10
     services like “[n]ext-generation online multiplayer, “100GB cloud storage,” and “exclusive
11
     discounts,” and not simply “a ‘1-month’ Membership’ to a library of PlayStation video games” as
12
     Amazon claims (MTD at 4:8). Thus, the provision of monthly free games is an incidental benefit
13
     of a PlayStation Plus membership, which offers a plethora of other, more prominent features. And
14

15   at least under Massachusetts law, services like PlayStation Plus that provide access to cloud

16   storage and multiplayer and incidentally offer free games are not taxable.                Massachusetts
17   Department of Revenue (“DOR”) Letter Ruling 12-8 (“Generally, sales of [software-as-a-service
18
     and cloud computing] products to customers in Massachusetts are taxable … except where … the
19
     non-taxable computing resources or storage capacity services are bundled with the provision of
20
     prewritten operating system software that is incidental to the acquisition of those services, such
21

22   that the object of the transaction remains the acquisition of non-taxable services.”).

23

24

25

26
     9
27       https://www.playerauctions.com/roblox-marketplace/.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                     -8-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 15 of 31




 1                  1.      The Products Are Tax Exempt In Massachusetts
 2          Because the Products are “digital products” or, in the case of the Robux Gift Cards, “gift
 3
     cards,” they are not subject to sales tax under Massachusetts law. As to “gift cards,” the DOR has
 4
     held “gift cards are the same as a gift of cash and are not subject to the 6.25% Massachusetts sales
 5
     tax. Retailers should not be charging any taxes on these items.”10 The Massachusetts tax code
 6

 7   “imposes an excise upon ‘sales at retail of tangible personal property.’” DOR Letter Ruling 81-4

 8   (Jan. 5, 1981) (quoting Mass. Gen. Laws ch. 64H, § 2). “Tangible personal property” is defined

 9   as “personal property of any nature consisting of any produce, goods, wares, merchandise and
10
     commodities whatsoever … but shall not include rights and credits, insurance policies, bills of
11
     exchange, stocks and bonds and similar evidences of indebtedness or ownership.” Mass. Gen.
12
     Laws ch. 64H, § 1. But the sale of gift cards to consumers “is not a sale of ‘tangible personal
13
     property’” and therefore not subject to sales tax. See DOR Letter Ruling 81-4; see also DOR
14

15   Letter Ruling 16-1 (Jan. 8, 2016) (holding “[c]ompany’s sales tax treatment of gift cards is

16   correct” where “[n]o sales tax is collected or remitted upon the sale of Company Certificates to
17   customers or upon the use of Company Certificates to purchase gift cards”); DOR Directive 12-4
18
     (July 16, 2012) (“The Department has concluded that the sale of vouchers … should be treated
19
     like gift certificates at the time of sale; thus any tax is due when the vouchers are redeemed, not
20
     when they are issued.”). Rather, when “the purchaser presents a gift certificate in lieu of cash,
21

22   any sales tax due is collected at the time of sale” (i.e., the tax is collected on the item actually

23   purchased, but not on the gift card itself.” DOR Directive 12-4. In other words, if a customer

24   purchases an Amazon gift card and uses that gift card to buy a pair of headphones, the purchase
25

26   10
        SHOPPER’S BEWARE: GIFT CARDS ARE TAX FREE, https://blog.mass.gov/revenue/taxes/
27   shoppers-beware-gift-cards-are-tax-free/.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                     -9-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 16 of 31




 1   of the headphones would be taxed, but not the purchase of the gift card. So too here: the Robux
 2   Gift Card is a “gift card” and therefore not subject to sales tax.11
 3
               As to “digital products,” these too are not taxable in the state of Massachusetts. See DOR
 4
     Technical Information Release 05-8, at § VII.B.8 (July 14, 2005) (including “[d]igital products []
 5
     delivered electronically, including but not limited to music, video, reading materials or ring tones”
 6

 7   under list of “[n]on-taxable and exempt services”). The only exception to the “digital products”

 8   exception is “standardized or prewritten software.” DOR Letter Ruling 11-3 (Feb. 14, 2018). But

 9   the Products are not “standardized or prewritten software.” For instance, the DOR has ruled
10
     digital certificates that authenticate end-users and allow access to a server “are sent to the
11
     Taxpayer’s customers electronically” and “not subject to sales or use tax.” Id. Further, as to the
12
     Robux Gift Cards, these are not taxable because Roblox is free-to-play12 and “the sales and use
13
     taxes do not apply to access or use of software where the object of the transaction is acquiring a
14

15   good or service and there is no charge for the use of software.” DOR Letter Ruling 12-8 (Nov. 8,

16   2013). Likewise, the PSN+ Cards are not taxable under Massachusetts law for the reasons set
17   forth in Argument § II.A, supra.
18

19

20

21   11
        Citing Citrix Sys., Inc. v. Comm’r of Revenue, 139 N.E.3d 293, 294, 298-99 (Mass. 2020),
22   Defendant seemingly argues the PSP+ Card is taxable because it is a “fee[] charged for
     subscriptions to use online software products,” and constitutes a “transfer[] of rights to use
23   software installed on a remote server.” MTD at 8:9-12. But Citrix involved “whether fees charged
     for subscriptions to use online software products are subject to Massachusetts sales tax,” not
24
     whether vouchers or gift cards redeemable for said subscriptions—like the PSP+ Card—are
25   subject to sales tax. Citrix Sys., Inc., 139 N.E.3d at 294. Such cards do not constitute a “transfer[]
     of rights to use software installed on a remote server,” and as the DOR has held, any sales tax “is
26   due when the [cards] are redeemed, not when they are issued.” DOR Directive 12-4.
     12
27        FOR PARENTS, https://corp.roblox.com/parents/ (“Roblox is free to download and free to play”).
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                      -10-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 17 of 31




 1                  2.      The Products Are Tax Exempt In New York
 2          Under New York law, any tax must be authorized by statute. See, e.g., Am. Cablevision
 3
     of Rochester, Inc. v. Jacobs, 474 N.Y.S.2d 653, 655 (N.Y. App. Div. 1984). In other words, New
 4
     York statutes explicitly designate what is taxable, rather than imposing a blanket tax on all sales
 5
     and carving out exceptions. And digital products such as the Products are not included in the
 6

 7   goods or services subject to either sales or use tax. See N.Y. Tax L. §§ 1105 (outlining taxable

 8   goods under New York law), 1110 (outlining use tax); see also Catherine Chen, Taxation of

 9   Digital Goods & Servs., 70 N.Y.U. ANN. SURV. AM. L. 421, 452-53, 452 n.169 (2015) (identifying
10
     New York as among the states that “either do not affirmatively impose sales tax on digital content
11
     or expressly exempt it from taxation”); NYSDTF REPORT                  ON THE      TAXATION          OF THE
12
     TELECOMMUNICATIONS INDUSTRY IN NEW YORK STATE (Oct. 2009)13 (“In New York, digital
13
     products are not subject to sales tax.”)
14

15          While Amazon points to numerous New York statutes regarding taxes that must be

16   collected generally, including that it must collect applicable tax (MTD at 8:12-18), it never points
17   to a specific New York statue authorizing it to collect taxes on the Products. See generally MTD
18
     at 8-11. Plaintiffs, in contrast, allege that the Products are non-tangible virtual goods that are sent
19
     electronically in the form of a unique code that is generated for the buyer after the purchase, and
20
     are thus tax exempt under New York law. See SAC ¶¶ 15 (p. 5:14-16), 25-26 (pp. 8:8-9:8).
21

22          Under N.Y. Tax Law § 1105(a), a sales tax is imposed upon “[t]he receipts from every

23   retail sale of tangible personal property, except as otherwise provided in this article.” N.Y. Tax

24   Law § 1105. “Tangible personal property” is defined as “[c]orporeal personal property of any
25

26   13
        https://www.tax.ny.gov/pdf/stats/policy_special/telecommunications/2009/taxation_of_the_
27   telecommunications_industry_in_ny_state_october_2009.pdf
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -11-
           Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 18 of 31




 1   nature”14 with numerous exclusions and additions. N.Y. Tax Law § 1101(b)(6). The sole prong
 2   that could possibly incorporate the Products is “pre-written computer software, whether sold as
 3
     part of a package, as a separate component, or otherwise, and regardless of the medium by means
 4
     of which such software is conveyed to a purchaser.” Id. But the Products themselves are not
 5
     software, but mere virtual goods. And any sales tax assessed under this prong (if it is due at all)
 6

 7   would be the responsibility of the software/service provider at the time of redemption, not at the

 8   time of purchase of the virtual gift card/voucher. Regardless, Amazon has waived this argument

 9   by not raising it. See Gadda, 511 F.3d 933, 937 n.2 (9th Cir. 2007).
10
              The Robux Gift Cards are also exempt from sales tax as virtual “gift cards” or “gift
11
     certificates.” See, e.g., N.Y. Dep’t of Taxation & Fin., Advisory Op. TSB-A-99(13)S (Mar. 1,
12
     1999)15 (“Gift certificates for a stated dollar amount, whether given away for no consideration or
13
     sold to a customer, are not subject to sales tax.”). Amazon does not dispute that gift cards are not
14

15   subject to New York sales tax, instead arguing that under an Advisory Opinion16 issued by the

16   NYSDTF, the Robux Gift Card is a “Point Card” and the PSP+ Card is a “Subscription Card,”
17   both of which are subject to sales tax. MTD at 10:17-11:9. This argument fails for two reasons.
18
     First, the advisory opinion does not address that the Products are virtual goods rather than tangible
19
     goods. See Advisory Opinion (defining both “Point Cards” and “Subscription Cards” as “plastic
20
     cards” and stating that “Petitioner sells access codes printed on a paper receipt or plastic card”)
21

22
     14
23      N.Y. Tax Law § 1101 does not define “corporeal.” But Black’s Law Dictionary defines
     “corporeal” as “[h]aving a physical, material existence; TANGIBLE.” CORPOREAL, BLACK'S
24   LAW DICTIONARY (11th ed. 2019). This clearly excludes virtually delivered (and thus non-
     tangible) goods.
25   15
          https://www.tax.ny.gov/pdf/advisory_opinions/sales/a99_13s.pdf.
26   16
        NYSDTF Office of Counsel Advisory Opinion Unit, TSB-A-15(25)S (June 3, 2015),
27   https://www.tax.ny.gov/pdf/advisory_opinions/sales/a15_25s.pdf (“Advisory Opinion”).
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                     -12-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 19 of 31




 1   (emphasis added). Thus, the Advisory Opinion’s scope is limited to physical cards, not digitally
 2   delivered cards. See id. And second, a full reading of the Advisory Opinion shows that even a
 3
     physical, plastic Robux Gift Card would be a “Dollar Value Card,” not a “Point Card,” and thus
 4
     not subject to sales tax. As the Advisory Opinion notes:
 5
            “Point Cards are similar [to subscription cards] in that they contain point values
 6
            that are used to access aspects of the on-line gaming software (such as
 7          additional levels or enhanced game play) or that may be redeemed to access a
            gaming application, related software or access to digital content on a specific
 8          third-party gaming network for a period of time. These include items available
            for assisting game play on the third-party gaming networks, downloadable
 9          game demonstrations, and extra game content (such as additional levels, new
            areas of game play, etc.).
10

11   Advisory Opinion (emphasis added).

12          In contrast, “Dollar Value Cards” are defined as “plastic cards containing a specific face
13   value dollar amount (such as for $20.00) that will be used to purchase additional game content in
14
     a manner similar to the Points Cards listed above. Id. (emphasis added). This distinction is
15
     crucial. Robux Gift Cards do not, as a Point Card does, provide “access to digital content on a
16
     specific third-party gaming network for a period of time.” SAC ¶¶ 8, 10 (pp. 2:15-3:9, 3:13-4:2).
17

18   Rather, they have a specific face value dollar amount that can be exchanged for virtual currency,

19   which can be used to purchase “additional game content” in “a manner similar to the Point Cards,”

20   but with indefinite and permanent access to the purchased content. Id. As the Advisory Opinion
21   states with respect to “Dollar Value Cards”:
22
            The purchase of a gift certificate that may be used in full or part payment, up to
23          the stated dollar value, for the purchase of unspecified goods and services at
            some future date generally is not considered to be a taxable transaction under
24          Tax Law § 1105 at the time the certificate itself is purchased.
25   Advisory Opinion (emphasis added). Thus, under New York law, the Robux Gift Cards are non-
26
     taxable “Dollar Value Cards.”
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                    -13-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 20 of 31




 1          B.      Plaintiffs State A Claim For Breach of Contract
 2          Defendant argues that the Court should dismiss Plaintiffs’ breach of contract claim
 3
     “because the contract that Plaintiffs identify—the COUs and incorporated Help pages—
 4
     unambiguously allows the very conduct that Plaintiffs challenge.” MTD at 20:25-26. This is
 5
     wrong. Amazon’s argument rests entirely on the taxability of the Products. Indeed, by Amazon’s
 6

 7   own admission, “Plaintiffs’ contract with Amazon… permits Amazon to collect sales tax on

 8   products when and as required by state law.” MTD at 21:19-20 (emphasis added). Amazon does

 9   not, and cannot, argue that it was authorized by the contract to overcharge Plaintiffs under the
10
     guise of “sales taxes” that are not authorized by state law. See SAC ¶¶ 37-38 (p. 13:7-15), 46-51
11
     (pp. 22:11-23:7). And as demonstrated above, the Products are not subject to sales tax in
12
     Massachusetts or New York.        Argument §§ II.A.1-2, supra.       Thus, Amazon breached its
13
     contractual promise to only charge tax in compliance with “state and local rates.”
14

15          Further, Amazon does not dispute that its contract explicitly represents that “[n]o tax is

16   charged when purchasing gift cards.” SAC ¶¶ 5 (p. 2:3-4), 37 (p. 13:7-9). But the Robux Gift
17   Cards are “gift cards” under the laws of Massachusetts and New York. Argument § II.A, supra.
18
     Yet Amazon charges sales tax on them, breaching its contractual promise not to do so.
19
            Amazon’s only other argument is that “Plaintiffs also knew at the time of the transactions
20
     that sales tax would be collected” and that “Plaintiffs do not allege that, upon realizing they had
21

22   been charged sales tax, they returned the Products and requested a refund.” MTD at 6:5-11

23   (emphasis removed). This argument omits a crucial detail: Plaintiffs did not know that the sales

24   tax that was collected was illegal. On the contrary, Amazon explicitly and impliedly promised to
25   Plaintiffs that the taxes Amazon collected complied with “state and local rates.” SAC ¶ 31 (p.
26
     11:13-17). Thus, whether Plaintiffs knew the sales tax was collected does not present a defense
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                          BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                               1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                           WALNUT CREEK, CA 94596



                                                    -14-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 21 of 31




 1   when Plaintiffs did not know the sales tax was illegal, and when Amazon represented the
 2   collection was legal. See American Oil Serv. v. Hope Oil Co., 194 Cal. App. 2d 581, 586 (Cal.
 3
     App. Ct. 1961) (“[I]t is elementary that an excessive payment made in ignorance of the fact that
 4
     it is excessive is recoverable.”).17
 5
             C.      Plaintiffs Sufficiently Allege Violations Of Massachusetts,
 6
                     New York, And Washington’s Consumer Protection Acts
 7
                     1.      Plaintiffs State A Claim For Violations of The
 8                           Massachusetts Unfair and Deceptive Business
                             Practices Act
 9
             As discussed above, the Products were non-taxable items under the laws of Massachusetts.
10

11   See Argument §§ II.A.-II.A.1, supra. Nonetheless, Amazon argues that even if the Products

12   should not have been taxed, Plaintiffs “fail to state a claim under Gen. Laws ch. 93A” because the
13   “collection of the state sales tax did not occur in ‘trade or commerce’” and Massachusetts’
14
     “administrative remedy for aggrieved taxpayers preempts Gen. Laws ch. 93A claims based on tax
15
     collection.” MTD at 11:28-12:3. Both arguments are wrong.
16
             First, Defendant argues the improper collection of the sales tax did not occur “in a business
17

18   context” because it does not “have an entrepreneurial, commercial, or business purpose” or serve

19   Amazon’s “financial benefit or gain.” MTD at 12:6-8. But unlike Amazon’s cited authorities,

20   Plaintiffs allege that Amazon failed to remit the sales tax to the DOR (or remitted it to third parties
21   rather than the DOR). SAC ¶¶ 40-46 (pp. 13:21-15:2). Accordingly, Plaintiffs have alleged that
22
     Amazon’s conduct served its “financial benefit or gain” or “commercial or business purpose.”
23
     Contra Feeney v. Dell Inc., 908 N.E.2d 753, 771 (Mass. 2009) (no claim under ch. 93A where
24

25
     17
       Amazon does not extend and thus waives any argument regarding remittance or exhaustion of
26   administrative remedies as to Plaintiffs’ contract claims. Nor can Amazon make this argument
     because it would be irrelevant to whether Amazon breached its contract to not collect sales tax
27   on gift cards.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                             BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                  1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                              WALNUT CREEK, CA 94596



                                                      -15-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 22 of 31




 1   “Dell remitted the proceeds from the tax collected to the Commonwealth”) (emphasis added);
 2   McGonagle v. Home Depot, U.S.A., Inc., 915 N.E.2d 1083, 1089 (2009) (same where defendant
 3
     “transmitted to DOR all tax payments received from the plaintiffs and from the classes whom they
 4
     proposed to represent”) (emphasis added).
 5
            Second, Defendant argues that “Massachusetts’ exclusive administrative remedy [for
 6

 7   taxpayers aggrieved by the assessment of a tax] preempts and precludes Plaintiffs’ Gen. Laws ch.

 8   93A claim.” MTD at 14:25-26 (citing Mass. Gen. Laws ch. 62C, § 41). Defendant intentionally

 9   omits the entire text of the provision it cites. Mass. Gen. Laws ch. 62C, § 41 states, “The remedies
10
     provided by section thirty-seven to forty, inclusive, shall be exclusive, whether or not the tax is
11
     wholly illegal. But the word ‘exclusive’ in this section shall not be construed to deprive any
12
     person of a right of action at law in any federal court.”         (Emphasis added).             Thus, the
13
     Massachusetts tax code explicitly states it is not the only remedy for an aggrieved consumer.
14

15          In addition, numerous Massachusetts courts have held that “[a]lthough violations of laws

16   and regulations are not always violations of c. 93A, § 2(a), such violations may – and frequently
17   do – serve as the bases of c. 93A claims if the underlying conduct is unfair or deceptive … even
18
     when some other mechanism exists for enforcing the statute or regulation.” Beauchesne v. New
19
     England Neurological Associates, P.C., 159 N.E.3d 728, 736 (Mass. App. Ct. 2020) (emphasis
20
     added) (holding that overcharging for medical records and bills was a violation of ch. 93A even
21

22   though separate state enforcement mechanism existed); see also Hershenow v. Enterprise Rent-

23   A-Car Co. of Boston, 840 N.E.2d 526, 531 (Mass. 2006) (rejecting argument that where statute

24   governing car rental agreements “provides for civil fines and a public enforcement action[,] …
25   private relief for violations of that statute is not available” through c. 93A); Columbia
26

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                    -16-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 23 of 31




 1   Chiropractic Group, Inc. v. Trust Ins. Co., 712 N.E.2d 93, 95-96 (Mass. 1999) (rejecting argument
 2   that c. 93A claim should have been dismissed because agency had primary jurisdiction).
 3
            Further, Defendant’s argument rests on the idea that Defendant is performing a
 4
     “ministerial function” by collecting taxes on behalf of the state. But several courts have rejected
 5
     this argument when, as is the case here, the collection of the tax was unlawful and the tax was
 6

 7   never remitted to the appropriate state authorities. Porsch v. LLR, Inc., 380 F. Supp. 3d 418, 427

 8   (S.D.N.Y. 2019) (“LLR was not performing a ministerial act on behalf of New York when it

 9   collected the allegedly improper sales tax.”); Van v. LLR, Inc., 500 F. Supp. 3d 927, 940 (D.
10
     Alaska 2020) (same). Rather, “[v]iewed from the perspective of [Massachusetts] law, [Amazon]
11
     simply overcharged its customers – whether that charge was labeled ‘sales tax’ or something else
12
     is immaterial.” Porsch, 380 F. Supp. 3d at 427; Van, 500 F. Supp. 3d at 940. Both Porsch and
13
     Van also distinguished cases like McGonagle from circumstances like those here in two respects.
14

15   In McGonagle, “the plaintiffs were not alleging that no sales tax should have been collected; they

16   were alleging that the amount that was collected was too much. In contrast, here, plaintiff is
17   alleging that no sales tax should have been collected because she lives in a jurisdiction that does
18
     not have a sales or use tax.” Van, 500 F. Supp. 3d at 940. Moreover, unlike McGonagle, Plaintiffs
19
     here have alleged the sales tax was not remitted to the state (SAC ¶¶ 40-46), and “it would make
20
     little sense to require [Plaintiffs] to apply for a refund from [Massachusetts] taxing authorities
21

22   when no [Massachusetts] tax was collected and none was remitted to the state.” Porsch, 380 F.

23   Supp. 3d at 427.

24                  2.     Plaintiffs State A Claim For Violations of New York
                           General Business Law
25

26          As an initial matter, Defendant claims Fed. R. Civ. P. 9(b)’s “heightened pleading standard

27   [] applies [to Plaintiffs’ GBL claims) because Plaintiffs’ claims sound in fraud.” MTD at 17:16-
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                          BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                               1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                           WALNUT CREEK, CA 94596



                                                    -17-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 24 of 31




 1   17. Defendant is plainly incorrect. “Claims under GBL §§ 349 [and] 350 are ‘not subject to the
 2   pleading-with-particularity requirements of Rule 9(b)’ … They ‘need only meet the bare-bones
 3
     notice-pleading requirements of Rule 8(a).’” Manchanda v. Navient Student Loans, 2020 WL
 4
     5802238, at *5 (S.D.N.Y. Sept. 29, 2020) (quoting Pelman ex rel. Pelman v. McDonald’s Corp.,
 5
     396 F.3d 508, 511 (2d Cir. 2005)). Thus, Plaintiffs must only “plead[] factual content that allows
 6

 7   the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 8   Kolebuck-Utz v. Whitepages Inc., 2021 WL 1575219, at *1 (W.D. Wash. Apr. 22, 2021). And

 9   here, Plaintiffs have alleged that Amazon, rather than remitting collected tax to authorities,
10
     remitted collected tax to third party merchants for a period of time,18 who in turn were responsible
11
     for remitting the tax to the state. SAC ¶¶ 40-46 (pp. 13:21-15:2). No more is required.
12
            Moving on, Defendant argues that Plaintiffs’ GBL claims are preempted by New York tax
13
     law because “[c]onsumers in New York seeking the return of sales taxes ‘erroneously, illegally or
14

15   unconstitutionally collected or paid … to a person required to collect tax’ must apply for a refund

16   to the NYSDTF,” and this is a consumer’s “exclusive remedy” MTD at 15:16-21 (emphasis
17   removed) (citing N.Y. Tax Law §§ 1139(a), §1140). But here, Plaintiffs allege that for a portion
18
     of the class period, Amazon did not and has not remitted the unlawfully collected charges to any
19
     state or local taxing authority. SAC ¶¶ 40-46 (pp. 13:21-15:2). Specifically, Plaintiffs allege that
20

21
     18
        Amazon claims “Plaintiffs do not allege even when Amazon might have failed to remit taxes to
22   state authorities.” MTD at 17:12-13 (emphasis removed). Yet Amazon had no trouble identifying
23   the time period from Plaintiffs’ pleadings and the documents incorporated therein. MTD at 5 n.4
     (claiming “Amazon has been collecting and remitting sales tax on third-party sales since at least
24   2019”). Whether this statement is true will be tested in discovery. In the meantime, Plaintiffs
     have relied on all publicly available information, and Plaintiffs cannot be expected to have
25   complete knowledge of information that is solely in Amazon’s possession. See, e.g., Means v.
     City of Chicago, 535 F. Supp. 455, 459 (N.D. Ill. 1982) (“We are at a loss as to how any plaintiff
26   … is supposed to allege with specificity prior to discovery acts to which he or she personally was
27   not exposed, but which provide evidence necessary to sustain the plaintiff’s claim.”).
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                    -18-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 25 of 31




 1   “Amazon collected the sales tax it believed was due at the point of sale but placed the
 2   responsibility upon the merchant to disburse the sales tax to the relevant state … Amazon, in
 3
     numerous instances, incorrectly collected the wrong sales tax and sent the collected taxes not to
 4
     the relevant state authorities, but rather to its merchant partners.” Id. ¶ 45 (p. 14:18-23).
 5
     Accordingly, the “administrative remedy” Amazon proffers would be futile, and Plaintiffs’ GBL
 6

 7   claims are therefore not preempted. Porsch, 380 F. Supp. 3d at 427 (denying motion to dismiss

 8   for failure to exhaust administrative remedies of §§ 1139 and 1140 because “it would make little

 9   sense to require Porsch to apply for a refund from New York taxing authorities when no New
10
     York tax was collected and none was remitted to the state.”); see also id. (“LLR was not
11
     performing a ministerial act on behalf of New York when it collected the allegedly improper sales
12
     tax. Viewed from the perspective of New York law, LLR simply overcharged its customers –
13
     whether that charge was labeled ‘sales tax’ or something else is immaterial.”); contra Davidson
14

15   v. Rochester Tel. Corp., 558 N.Y.S.2d 1009, 1011 (N.Y. App. Div. 1990) (“[I]t [cannot] be said

16   that plaintiff has demonstrated that administrative review is futile in this case, thereby permitting
17   the maintenance of this action without first exhausting administrative remedies.”).
18
            Defendant does not address or even mention Porsch, instead relying on numerous
19
     inapposite cases where, unlike here, the sales tax was remitted to the state. In Estler v. Dunkin’
20
     Brands, Inc., 691 F. App’x 3, 6 (2d Cir. 2017), for example, the plaintiffs did not allege
21

22   “defendants failed to remit any charges collected to the appropriate state and municipal tax

23   authorities.” Moreover, Estler expressly left open the question decided by Porsch regarding

24   “whether resort to this administrative remedy might ever be unnecessary if an additional fee has
25   been fraudulently charged as a ‘tax’ yet not remitted to state or municipal authorities.” Estler, 691
26
     F. App’x at 6 n.2 (emphasis in original).
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                     -19-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 26 of 31




 1          Defendant cites Togut v. Forever 21, Inc., 285 F. Supp. 3d 643 (S.D.N.Y. 2018) and
 2   Kupferstein v. TJX Cos., 2017 WL 590324 (E.D.N.Y. Feb. 14, 2017) for the proposition that courts
 3
     in New York will dismiss lawsuits “even where the plaintiff properly alleges non-remittance.”
 4
     MTD at 17:3-5. But Togut and Kupferstein held no such thing. Rather, in both cases, the court
 5
     explicitly took issue with the paucity of the plaintiff’s allegations regarding non-remittance. See
 6

 7   Togut, 285 F. Supp. 3d at 647-48 (S.D.N.Y. 2018) (“Based exclusively on information and belief,

 8   Plaintiff contends that Defendants have not remitted the collected monies to the Department. No

 9   further alleged facts or documents have been presented in support.”); Kupferstein, 2017 WL
10
     590324, at *2 (dismissing action where plaintiff argued in her opposition brief that defendant
11
     failed to remit the tax overcharge to taxing authorities but “plaintiff did not make this allegation
12
     in her amended complaint” and any implied allegations of such conduct were “conclusory” and
13
     “speculative”); see also Porsch, 380 F. Supp. 3d at 427 (distinguishing cases).19
14

15          Defendant also cites Guterman v. Costco Wholesale Corp, 927 F.3d 67 (2d Cir. 2019), but

16   Guterman differs from this case in two important respects. Unlike Plaintiffs here, the Guterman
17   plaintiff alleged New York “received … what it was owed.” Guterman, 927 F.3d at 69-70.
18
     Further, the challenged practice was not that the tax should not have been collected at all, but that
19
     it was over-collected because the plaintiff should have been charged sales tax on the reduced price
20
     of taxable items he purchased rather than on the full price. Id. at 69; see also Van, 500 F. Supp.
21

22   3d at 940 (“[T]he plaintiffs were not alleging that no sales tax should have been collected; they

23   were alleging that the amount that was collected was too much. In contrast, here, plaintiff is

24

25
     19
        Defendant’s cite to Gilbert v. Home Depot, Inc., 2014 WL 4923107 (W.D.N.Y. Sept. 30, 2014)
26   is inapposite for this reason as well. In Gilbert, the plaintiff did not allege non-remittance, just
27   that the tax was improperly charged. See Gilbert, 2014 WL 4923107, at *4.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                     -20-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 27 of 31




 1   alleging that no sales tax should have been collected because she lives in a jurisdiction that does
 2   not have a sales or use tax.”). Cohen v. Hertz Corp., 2013 WL 9450421 (S.D.N.Y. Nov. 26, 2013),
 3
     is inapposite for this same reason. See Cohen, 2013 WL 9450421, at *3 (car rental company
 4
     miscalculated sales tax owed under state laws applicable to plaintiff’s sales, and plaintiffs did not
 5
     challenge taxability of transaction, but rather the amount of tax charged).
 6

 7          Finally, Defendant’s citation to Holt v. Town of Stonington, 765 F.3d 127 (2d Cir. 2014)

 8   is distinguishable because Holt had nothing whatsoever to do with tax collection. Holt, 765 F.3d

 9   at 131 (“Holt failed to exhaust available administrative remedies before filing this case. She
10
     withdrew her application for a zoning permit before Stonington zoning officials had acted on the
11
     application.”). Holt thus provides no grounds to depart from the well-reasoned and more on-point
12
     Porsch opinion. Further, to the extent the Court follows Holt (and it should not), any dismissal
13
     should be without prejudice. Holt, 765 F.3d at 133 (“Because failure to exhaust can be remedied
14

15   through the pursuit of administrative process, a dismissal for failure to exhaust available

16   administrative remedies should be without prejudice.”) (internal quotations omitted).
17          Last, Defendant argues that it is exempt from GBL § 349 (but not GBL § 350) because
18
     Defendant is performing a “ministerial function” by collecting taxes on behalf of the state. Courts
19
     have rejected this argument when, as is the case here, the collection of the tax was unlawful and
20
     the tax was never remitted to the appropriate state authorities. See Porsch, 380 F. Supp. 3d at 427
21

22   (“LLR was not performing a ministerial act on behalf of New York when it collected the allegedly

23   improper sales tax.”); Van, 500 F. Supp. 3d at 940 (same). The text of GBL § 349(d) is in accord

24   with such an interpretation, as this section only provides a “complete defense” if the “act or
25   practice is … subject to and complies with the rules and regulations of” New York State’s
26
     Department of Taxation and Finance. GBL § 349(d) (emphasis added). Because the sales tax on
27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                            BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                 1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                             WALNUT CREEK, CA 94596



                                                     -21-
         Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 28 of 31




 1   the Products was improper under New York law, it cannot possibly have been levied in
 2   compliance with the Department’s “rules and regulations.”
 3
                    3.      Plaintiffs Properly Allege Claims Under The
 4                          Washington Consumer Protection Act

 5          Defendant argues that Plaintiffs’ Washington Consumer Protection Act (“WCPA”) claims
 6
     fail because Amazon’s “conduct did not occur in trade or commerce.” MTD at 18:22-24. That is
 7
     wrong. The Washington Legislature “broadly” defined the phrase “trade or commerce” to include
 8
     “the sale of assets or services, and any commerce directly or indirectly affecting the people of the
 9
     state of Washington.” Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 105 Wash.
10

11   2d 778, 785, 719 P.2d 531 (1986) (quoting RCW 19.86.010(2)) (emphasis added). Indeed, “[t]he

12   CPA, on its face, shows a carefully drafted attempt to bring within its reach[] every person who
13   conducts unfair or deceptive acts or practices in any trade or commerce.” Short v. Demopolis, 103
14
     Wash. 2d 52, 61, 691 P.2d 163 (1984) (en banc) (emphasis in the original). Here, Plaintiffs allege
15
     that Defendant’s unlawful collection of taxes on digital goods has occurred in “trade or commerce”
16
     because it “include[s] the sale of assets or services.” SAC ¶ 59 (p. 24:6-7).
17

18          Amazon attempts to split hairs, claiming that “Amazon’s sales of the allegedly non-taxable

19   items might be commercial conduct, but its collection of tax on those items is not.” MTD at 19:20-

20   21 (emphasis in the original). Tellingly, Amazon fails to cite a single case in which any court
21   made such a distinction. Amazon cites Browne v. Avvo, Inc., 525 F. Supp. 2d 1249 (W.D. Wash.
22
     2007), but that case concerned whether the WCPA applied to Avvo’s free attorney ratings in which
23
     no assets or services were provided to users and no money was paid to Avvo. Id. at 1254. That is
24
     a far cry from the money paid by Plaintiffs and class members in connection with their purchases
25

26   of non-taxable digital goods as alleged in this case. See SAC ¶ 64 (p. 25:1-5); see also Stephens

27   v. Omni Ins. Co., 138 Wash. App. 151, 176, 159 P.3d 10 (2007) (holding that the WCPA applied
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                          BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                               1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                           WALNUT CREEK, CA 94596



                                                    -22-
          Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 29 of 31




 1   to collection notices sent by a debt collection agency). Further, whether Amazon chose to label
 2   the charge as a “‘sales tax’ or something else is immaterial” because “[v]iewed from the
 3
     perspective of [Massachusetts and New York] law, [Amazon] simply overcharged its customers.”
 4
     Porsch, 380 F. Supp. 3d at 427. Such overcharges undoubtedly occurred in “trade or commerce”
 5
     because it involves “commerce directly or indirectly affecting the people of the state of
 6

 7   Washington.” RCW 19.86.010(2); see also Porsch, 380 F. Supp. 3d at 428 (“LLR’s alleged

 8   practice of over-charging customers under the guise of a ‘sales tax’ was consumer-oriented. It

 9   reflects a standard or routine practice that could potentially affect similarly situated consumers.”)
10
     (internal quotations and brackets omitted).
11
            Amazon also argues that its improper collection of taxes from the sale of digital goods is
12
     “exempt” from suit under the WCPA. MTD at 20:7-23. Once again, Amazon is incorrect.
13
     Specifically, Amazon asserts that “actions or transactions … permitted by any [] regulatory body
14

15   or officer acting under statutory authority of this state or the United States” are exempt under the

16   WCPA. MTD at 20:7-8 (quoting RCW § 19.86.170). But that is what this case is about, i.e., was
17   Amazon permitted to collect tax from Plaintiffs and the putative class members? If, as Plaintiffs
18
     allege, Amazon was not permitted to collect taxes on the Products, then it cannot take shelter in
19
     the exemption set forth in RCW § 19.86.170.20 The Court should reject Amazon’s strained
20
     interpretation of the WCPA.
21

22

23   20
       Amazon also argues that “heavily regulated activities are not subject to the WCPA.” MTD at
24   20:11-12. Amazon cites McCarthy Fin., Inc. v. Premera, 182 Wash. 2d 936 (2015), but that case
     concerned a challenge to health insurance premiums set by the Washington State Office of the
25   Insurance Commissioner that would require the court “to reevaluate rates approved by the OIC
     and thereby inappropriately usurp the role of the OIC.” Id. at 943–44. Here, Plaintiffs challenge
26   sales taxes improperly charged by Amazon and that have not been authorized by any regulatory
27   body at issue in this case.
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                     -23-
            Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 30 of 31




 1            Further, Plaintiffs are not asking the Court to “reevaluate” or challenge the viability of
 2   Massachusetts and New York tax law as Amazon suggests (MTD at 20:20-22). Unlike in
 3
     McCarthy Finance, Inc. v. Premera, 182 Wash. 2d 936, 943-44, 347 P.3d 872 (2015), where the
 4
     plaintiffs were asking the court to “to reevaluate rates approved by the OIC and thereby
 5
     inappropriately usurp the role of the OIC,” Plaintiffs here are merely asking the Court to apply the
 6

 7   tax law as written to Amazon’s improper collection sales tax. And rather than require the Court

 8   to engage in speculation as to what the sales tax may be, the rate has been set in stone by both the

 9   Massachusetts and New York tax agencies. See McCarthy Finance, Inc., 182 Wash. 2d at 943
10
     (“[T]o the extent that claimants can prove damages without attacking agency-approved rates, the
11
     benefits gained from courts’ considering CPA claims outweigh any benefit that would be derived
12
     from applying the filed rate doctrine to bar the claims.”).
13
     III.     CONCLUSION
14

15            For the foregoing reasons, the Court should deny Defendant’s Motion. If the Court

16   determines that the pleadings are deficient, Plaintiffs request leave to amend. See Roney v. Miller,
17   705 F. App’x 670, 671 (9th Cir. 2017) (lower court erred by denying leave to amend after
18
     dismissing amended complaint).
19
     Dated: February 28, 2022                      Respectfully submitted,
20
                                                   CARSON NOEL PLLC
21

22                                                 By: /s/ Wright A. Noel
                                                           Wright A. Noel
23
                                                   20 Sixth Avenue NE
24                                                 Issaquah, WA 98027
                                                   Telephone: (425) 837-4717
25                                                 Facsimile: (425) 837-5396
26                                                 E-Mail: wright@carsonnoel.com

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                           BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                                1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                            WALNUT CREEK, CA 94596



                                                     -24-
        Case 2:21-cv-01213-TL Document 31 Filed 02/28/22 Page 31 of 31




 1                                          BURSOR & FISHER, P.A.
                                            L. Timothy Fisher (Pro Hac Vice)
 2                                          1990 N. California Blvd., Suite 940
 3                                          Walnut Creek, CA 94596
                                            Telephone: (925) 300-4455
 4                                          Facsimile: (925) 407-2700
                                            E-Mail: ltfisher@bursor.com
 5
                                            BURSOR & FISHER, P.A.
 6
                                            Max S. Roberts (Pro Hac Vice)
 7                                          Matthew A. Girardi (Pro Hac Vice Forthcoming)
                                            Julian C. Diamond (Pro Hac Vice Forthcoming)
 8                                          888 Seventh Avenue
                                            New York, NY 10019
 9                                          Telephone: (646) 837-7150
                                            Facsimile: (212) 989-9163
10
                                            E-Mail: mroberts@bursor.com
11                                                  mgirardi@bursor.com
                                                    jdiamond@bursor.com
12
                                            Attorneys for Plaintiffs
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27
     PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS SAC                                    BURSOR & FISHER, P.A.
28   CASE NO. 2:21-CV-01213-TL                                         1990 NORTH CALIFORNIA BLVD., SUITE 940

                                                                                     WALNUT CREEK, CA 94596



                                             -25-
